Case 1:07-cv-01080-LJO-GSA Document 1-1 Filed 07/26/07 Page 1 of 2
UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF CALIFORNIA

CIVIL COVER SHEET
1(a) PLAINTIFFS (Check box if you are representing yourself D) DEFENDANTS
McIntosh, Roger d/b/a McIntosh and Associates Northern California Universal Enterprises Company,
Lotus Developments LP,

and DOES 1 through 10

(b) County of Residence of First Listed Plaintiff (Except in U.S, Plaintiff Cases);
Kern County

County of Residence of First Listed Defendant (In U.S. Plaintiff Cases Only):

(c) Attorneys (Firm Name, Address and Telephone Number. If you are representing
yourself, provide same.)
Forrest A. Hainline III
Nicole E. Perroton
Goodwin Procter LLP
101 California St., Suite 1850
: San Francisco, CA 94111

Attorneys (If Known)
(415) 733-6065

if, BASIS OF JURISDICTION (Place an X in one box only.) TI. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
O10U.S. Government Plaintiff M3 Federal Question (U.S. PTF DEF , PTF DEF
Government Not a Party} Citizen of This State 61 1 Incorporated or Principal Place O14 O14
of Business in this State
12 U.S. Governmerit Defendant [14 Diversity (Indicate Citizenship | Citizen of Another State M2 2 Incorporated and Principal Place O85 O85
of Parties in Item I) of Business in Another State
Citizen or Subject of a Foreign Country O3 03 Foreign Nation O6 O6

IV. ORIGIN (Place an X in one box only.)

1 Original
Proceeding

(5 Transferred from another district (specify): [6 Multi-
District
Litigation

O12 Removed from [13 Remanded from (14 Reinstated o7

7 Appeal to District
State Court ~ Appellate Court Reopened

Judge from
Magistrate Judge

Y. REQUESTED IN COMPLAINT: JURY DEMAND: & Yes
CLASS ACTION under F.R.C.P, 23: O Yes

(3 No (Check “Yes” only if demanded in compiaint.}
Ci MONEY DEMANDED IN COMPLAINT: §

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 U.S.C, § 1331; 28 U.S.C, §§ 1338(a}-(b}; 28 U.S.C. § 1367

EH No

Vil. NATURE OF SUIT (Place an X in one bex only. }

FATS Reales SR SST ed ee
““PERSOD J Fair Labor Stand
Antitrust 310 Airplane OPER: [1510 Motions to Act
(2430 Banks and Banking, Miller Act 0315 Airplane Product [21370 Other Fraud Vacate Sentence [0 720 Labor/Mgmt.
01450 Commerce/ICC Negotiable Instrument Liability (1371 Truth in Lending Habeas Corpus Relations
Rates/etc, Recovery of 0320 Assault, Libel & [10380 Other Personal (1 530 General (1 730 Labor/Memt.
£1460 Deportation Overpayment & Slander Property Damage |[} $35 Death Penalty Reporting &
£1470 Racketeer Influenced Enforcement of 0330 Fed. Employers’ |[10385 Property Damage |[3 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other 6740 Railway Labor Act
Organizations 11151 Medicare Act 11340 Marine EOUBANBRUPIOY. = {00 550 Civil Rights (0790 Other Labor
0480 Consumer Credit 0152 Recovery of Defaulted {[2345 Marine Product {11422 Appeal 28 USC [01555 Prison Conditi Litigation
[3490 Cable/Sat TV Student Loan (Excl. Liability 158 ay a Empl. Ret. Inc.
(3810 Selective Service Veterans) 0350 Motor Vehicle 1423 Withdrawal 28 . _Seourity Ac Act
01850 Securities‘Commodities [0153 Recovery of (11355 Motor Vehicle wt USC 137 SUPROPERTY RIGHTS:
fExchange Overpayment of Product Liability [221s ERIGHI Other Food & 0 Copyrights
(1875 Customer Challenge 12 Veteran’s Benefits 1360 Other Personal 0441 Voting Drug 1 830 Patént
USC 3410 [1160 Stockholders’ Suits Injury 442 Employment 01625 Drug Related o 840 Trademark |
0891 Agricultural Act 01190 Other Contract 0362 Personal Injury- {139443 Housing/Acco- Seizure of CIAL SECT
0 892 Economic Stabilization {01195 Contract Product Med Malpractice mmodations Property 21 USC 0 861 HHA (1395f8)
Act Liability 11365 Personal Injury- [1444 Welfare 881 (1 862 Black Lung (923)
(11893 Environmental Matters (0 196 Franchise Product Liability [11445 American with /07630 Liquor Laws 0 863 DIWC/DIWW
(1894 Energy Allocation Act [87> REAL PROPE (1368 Asbestos Personal Disabilities - [9640 R.R, & Truck (405(2))
£1895 Freedom of Info. Act Land Condemnation Injury Preduct Employment O650 Airline Regs 0 864 SSID Title XVI
0900 Appeal of Fee Determi- |[1 220 Foreclosure Liability (1446 American with ([1660 Occupational (1865 RSE ¢ oe
nation Under Equal 11230 Rent Lease & Ejectment Disabilities - Safety Health |/S FEDERAL AAS SUE
. Access to Justice 0240 Torts to Land Other O690 Other Oo 870 Taxes (U. s. Plaintiff
0950 Constitutionality of (1245 Tort Product Liability 0440 Other Civil or Defendant)
State Statutes 01290 All Other Real Property Rights C1 871 IRS-Third Party 26
890 Other Statutory Actions USC 7609

Vill@), IDENTICAL CASES: Nas this action been previously filed and disrnissed, remanded or closed? KINo 1 Yes

If yes, Jist case number(s):

FOR OFFICE USE ONLY:

Case Number:

EDCA-JS44 (01/03)

CIVIL COVER SHEET

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_ EDCA JS 44 Reverse ev. O1/05)
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by jocal rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:

L (a) Plaintiffs-Defendants. Enter names (last, first, middle initial} of plaintiff and defendant. Ifthe plaintiff or defendant is a govertiment agency, use only
the full name or standard abbreviations. Ifthe plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title,

(b) County of Residence, For each civil case filed, except USS. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)

(c} Attorneys, Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”. .

Tl. Jurisdiction, The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires ‘that jurisdictions be shown in pleadings, Place an “X” in one
_ of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below,

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant, (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Conpress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section HI below; federal question actions take precedence over diversity cases.)

Ul. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.

IV.‘ Nature of Suit. Place an ““X” in the appropriate box. Ifthe nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. Ifthe cause fits more than one nature of suit, select
_ the most definitive.

V. Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.5.C,, Section 1441, When the petition
for removal is granted, check this box,

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407, When this box
is checked, do not check (5} above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes

unless diversity. Example: U.S. Civil Statute: 47 USC 553 . .
Brief Description: Dnauthorized reception of cable service

Vil. Requested in Complaint. Class Action, Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv_P.
Demand, In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not ajury is being demanded.

VOI. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
